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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI

  STATE OF MISSOURI,                            )
  STATE OF ALABAMA                              )
  STATE OF ARKANSAS,                            )
  STATE OF FLORIDA,                             )
  STATE OF NORTH DAKOTA, and                    )
  STATE OF OHIO,                                ) Civil Action No. 24-cv-1316
                                                )
         Plaintiffs,                            )
                                                )
  v.                                            )
                                                )
  JOSEPH R. BIDEN, Jr., in his official         )
  capacity as President of the United States,   )
                                                )
  MIGUEL A. CARDONA, in his official            )
  capacity as Secretary, United States          )
  Department of Education, and                  )
                                                )
  UNITED STATES DEPARTMENT OF                   )
  EDUCATION,                                    )
                                                )
         Defendants.                            )
                                                )

                 MOTION FOR COURT TO ORDER DEFENDANTS TO
                    SUBMIT A STATEMENT OF COMPLIANCE

       Plaintiff States are concerned that Defendants may be trying to skirt this Court’s

preliminary injunction against the Third Mass Cancellation of student loans, just as the Eighth

Circuit found Defendants did over the summer with the Second Mass Cancellation. After the

district court enjoined the Second Mass Cancellation, the Federal Government made modest

adjustments to the program and then “continue[d] to forgive loans” through “a new so-called

‘hybrid rule’” that relied on the same exact statute that the district court had declared did not

authorize forgiveness. Missouri v. Biden, 112 F.4th 531, 535 (8th Cir. 2024). The Eighth Circuit

issued an injunction to stop the Federal Government from skirting the injunction. Id.




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       Plaintiff States are concerned the Federal Government may be running the same playbook

here. The Federal Government has directed loan servicers to update forgiveness letters “by

12/31/24”; Defendants have issued a notice of proposed rulemaking for mass loan forgiveness

relying on the same exact statutory authority this Court preliminarily enjoined; and news outlets

in the last week have reported that the Biden administration is planning an 11th-hour effort to mass

cancel loans. The States accordingly request that the Court order Defendants to submit a Notice

of Compliance so that Defendants cannot evade this Court’s injunction like they evaded the

injunction over the summer.

       This Court entered a preliminary injunction on October 3, 2024, which enjoined

Defendants “from mass canceling student loans, forgiving any principal or interest, not charging

borrowers accrued interest, or further implementing any other actions under the Rule or instructing

federal contractors to take such actions.” ECF 57 at 3. In granting Plaintiff States’ motion for a

preliminary injunction, the Court found that “Plaintiffs are likely to succeed on the merits in

showing that Defendants’ actions would be unlawful, like every court reviewing the previous plans

to unilaterally erase it.” Id. at 2. Plaintiff States specifically argued that the Third Mass

Cancellation was unlawful because the Federal Government was relying on Section 432(a) of the

HEA, which does not authorize the Secretary to mass cancel loans. See ECF 1, ¶¶ 140–49. Indeed,

that section does not even apply at all to the Direct Loan Program, which encompasses the bulk of

all student loans. Id. Defendants never defended the merits of using Section 432(a) of the HEA

to mass forgive loans and did not appeal this Court’s finding that Plaintiff States were likely to

succeed in establishing that Defendants lacked statutory authority under Section 432(a) to mass

cancel loans.




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       Yet in recent weeks, the Federal Government has sent strong signals that it may be trying

to tweak the Third Mass Cancellation rule to evade this Court’s preliminary injunction, as the

Federal Government previously did last summer. Instead of appealing this Court’s preliminary

injunction, the Federal Government on October 31 rolled out a Notice of Proposed Rule Making

that relies on the exact same statutory section that this Court concluded did not authorize student

loan cancellation. That rulemaking is entitled Student Debt Relief Based on Hardship for the

William D. Ford Federal Direct Loan Program (Direct Loans), the Federal Family Education

Loan (FFEL) Program, the Federal Perkins Loan (Perkins) Program, and the Health Education

Assistance Loan (HEAL) Program, 89 Fed. Reg. 87,130 (Oct. 31, 2024), attached hereto as Exhibit

A. These proposed regulations purport to authorize the Secretary to “grant waivers” to any

borrower who “is experiencing or has experienced hardship related to a loan” based on a “non-

exhaustive list of factors” determined by the Secretary. The regulations authorize the Secretary to

effectuate “immediate relief” for borrowers “based on data in the Secretary’s possession.” Id. at

87,163. The regulation indicates that “lengthy time in repayment” is a rationale for “immediate”

forgiveness. E.g., id. at 87,137. In other words, the new regulation would provide loan forgiveness

to the same borrowers targeted by the Third Mass Cancellation Rule, and it purports to give the

Secretary carte blanche authority to make this determination.

       This newest effort to mass cancel student loans, like the Third Mass Cancellation Rule,

relies on Section 432(a) for its purported authority. Indeed, the NPRM acknowledges that this

Court enjoined the Third Mass Cancellation Rule’s attempt to mass cancel loans based on Section

432(a), but declares that the Federal Government is going to continue using that statute anyway.

See id. at 87,131 n.2. That position is indefensible. The preliminary injunction—like the

temporary restraining order that preceded it—found that the Defendants “lack[ed] statutory




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authority” to cancel student loans under Section 432(a). See ECF 17 at 4. The Federal Government

cannot evade that preliminary injunction merely by making tweaks to the enjoined rule. They tried

that gambit last summer, and it failed.

       It appears that the Defendants are fast tracking these regulations during the lame-duck

period, despite this Court’s injunction, and may be aiming to cancel loans beginning as early as

December 31. Just days ago, Bloomberg reported that White House Communications Director

Ben LaBold circulated “a memo to allies,” which “signaled four key areas with announcements

forthcoming” including “student debt cancellation.” Josh Wingrove, Biden Plans Measures on AI,

Clemency and Lands in Final Stretch, Bloomberg (Dec. 15, 2024), attached hereto as Exhibit C.

Last week, Inside Higher Education reported that the “Biden administration submitted final rule

proposals for student debt relief to the Office of Management and Budget,” on December 11, 2024,

including this newest rule that seeks to rely on the enjoined Section 432(a) authority. Liam Knox,

Biden Finalizes Student Debt Relief Rules, Insider Higher Education (Dec. 12, 2024), attached

hereto as Exhibit B.

       This reporting matches recent internal communications between the Department and

servicers, which directed those servicers to put borrower forgiveness letters “in production by

12/31/24.” See Exhibit D. All signs point to the troubling concern that Defendants are preparing

to evade this Court’s preliminary injunction to effectuate a mass forgiveness program before

Defendant Biden leaves office. This would not be the first time Defendants tried to evade a

preliminary injunction to implement forgiveness. Indeed, after the second mass cancellation effort

was enjoined in June 2024, Defendants hatched a scheme to continue mass forgiveness through a

new “hybrid” regulation—without notice and comment—that was based on the same purported

authority that the court enjoined. See ECF 1, ¶ 58. That action forced the Eighth Circuit to issue




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an injunction pending appeal. Id.; Missouri v. Biden, 112 F.4th at 535 (“The Government's hybrid

plan was created after and in response to the district court's preliminary injunction and has

effectively rendered that injunction a nullity.”).

        Moreover, as this lawsuit has established, Defendants are comfortable undertaking

schemes to avoid judicial review, including by failing to comply with the statutory waiting periods

after finalizing a rule before putting that rule into effect. At oral argument in this case, Defendants’

counsel confirmed Plaintiff States’ allegations that the Department intended to publish a final rule

on a Friday and implement at least $70 billion of forgiveness by the following Monday. ECF 55-

1 at 40. That plan was an indisputable violation of the Congressional Review Act and the HEA—

which require at minimum a 60-day waiting period after publication of a rule—and was clearly

tailored to prevent affected parties from enforcing their rights in court. Only Plaintiff States’

vigilance and filing this lawsuit prevented that outcome. Now it appears that Defendants may be

at it again, attempting to implement a rule behind the scenes with little warning to the servicers in

an attempt to keep Plaintiff States in the dark. Worse yet, because the new regulations are premised

on the same purported authority as the Third Mass Cancellation Rule, and this Court found that

Defendants “lack[ed] statutory authority” to implement that rule and enjoined “any mass canceling

student loans” under that purported authority, any effort to implement the new regulations would

necessarily violate the preliminary injunction.

                                          CONCLUSION

        Plaintiff States respectfully request that the Court order that Defendants promptly submit

a Notice of Compliance with the preliminary injunction attesting that they are not planning to

implement forgiveness of Direct Loans based on Section 432(a) of the HEA. Moreover, Plaintiff




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States respectfully request that this Court direct Defendants to clearly indicate whether they intend

to implement these new regulations on or before January 20, 2025.




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Date: December 18, 2024                         Respectfully Submitted,

ANDREW BAILEY                                   ASHLEY MOODY
Attorney General of Missouri                    Attorney General of Florida

/s/ Joshua M. Divine                            /s/James H. Percival
Joshua M. Divine                                James H. Percival
    Solicitor General                              Chief of Staff
Reed C. Dempsey                                 Office of the Attorney General
    Deputy Solicitor General                    The Capitol, Pl-01
Missouri Attorney General’s Office              Tallahassee, Florida 32399-1050
Post Office Box 899                             (850) 414-3300
Jefferson City, MO 65102                        (850) 410-2672 (fax)
Tel. (573) 751-1800                             james.percival@myfloridalegal.com
Fax. (573) 751-0774
josh.divine@ago.mo.gov                          DREW H. WRIGLEY
reed.dempsey@ago.mo.gov                         Attorney General of North Dakota

TIM GRIFFIN                                     /s/ Philip Axt
Attorney General of Arkansas                    Philip Axt
                                                    Solicitor General
/s/Nicholas Bronni                              North Dakota Attorney General’s Office
Nicholas J. Bronni                              600 E. Boulevard Ave., Dept. 125
   Solicitor General                            Bismarck, ND 58505
Dylan L. Jacobs                                 Telephone: (701) 328-2210
   Deputy Solicitor General                     pjaxt@nd.gov
Office of the Arkansas Attorney General
323 Center Street, Suite 200
Little Rock, AR 72201                           DAVE YOST
(501) 682-3661                                  Attorney General of Ohio
Nicholas.Bronni@arkansasag.gov
Dylan.Jacobs@arkansasag.gov                     /s/ T. Elliot Gaiser
                                                T. Elliot Gaiser
                                                    Solicitor General
STEVE MARSHALL
                                                Mathura J. Sridharan
Attorney General of Alabama
                                                    Deputy Solicitor General
                                                Office of the Attorney General
s/ Edmund G. LaCour Jr.
                                                365 East Broad Street
Edmund G. LaCour Jr.
                                                Columbus, Ohio 43215
    Solicitor General
                                                Phone: (614) 466-8980
Office of the Attorney General
                                                thomas.gaiser@ohioago.gov
State of Alabama
501 Washington Avenue
P.O. Box 300152
Montgomery, AL 36130-0152
(334) 242-7300
Edmund.LaCour@AlabamaAG.gov



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                                CERTIFICATE OF SERVICE

       I hereby certify that, on December 18, 2024, a true and accurate copy of the foregoing was

electronically filed through the Court’s CM/ECF System and that a copy of the foregoing will be

sent via email to all parties by operation of the Court’s electronic filing system, consistent with

Federal Rule of Civil Procedure 5(b).

       I further certify that the foregoing document contains 1,383 words, exclusive of matters

designated for omission, as counted by Microsoft Word.

                                                     /s/ Joshua M. Divine

                                                     Counsel for Plaintiff State of Missouri
                                                     Lead Counsel for Plaintiff States
